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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON

   UNITED STATES OF AMERICA,

                         v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

                         Defendants.
                                                    /

                                NOTICE OF SEALED FILING

         Defendant Waltine Nauta, by and through the undersigned counsel, and pursuant to the

  Court’s Paperless Order (Apr. 30, 2024) (ECF No. 501), hereby gives notice of the sealed filing

  of an unredacted copy of his Motion to Dismiss for Unconstitutional Vagueness (Apr. 11, 2024)

  (ECF No. 448), which was docketed at ECF No. 513 on May 2, 2024.



                               [SIGNATURE BLOCK NEXT PAGE]
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   Date: May 3, 2024                        Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 3, 2024, I electronically submitted the foregoing via CM/ECF,

  to counsel of record.

                                                              s/ Sasha Dadan
